  Case 20-10763       Doc 78        Filed 04/12/21 Entered 04/12/21 13:00:45        Desc Main
                                      Document     Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT

                               DISTRICT OF MASSACHUSETTS


                                                 )
In re                                            )
                                                 )
HUU PHU LE and                                   )          Chapter 7
     LAN T. LAM,                                 )          Case No. 20-10763-JEB
                                                 )
               Debtors.                          )
                                                 )


                TRUSTEE’S OBJECTION TO CLAIM OF BYLINE BANK


        John O. Desmond, Chapter 7 Trustee (the "Trustee") of the above-captioned estate,
hereby objects to the proof of claim filed by Byline Bank. The details of such objection are set
forth below:


               Claimant:       Byline Bank

               Claim No:       11

               Amount:         $274,493.00 as a secured claim and $160,495.56 as an unsecured
                               nonpriority claim.

               Basis for Objection: This claim is secured by the business assets of a nondebtor
               corporation, HPL Inc., and by a mortgage on the debtors’ residence in Malden,
               Massachusetts. The Trustee did not administer any of this collateral. The
               claimant ought be paid for the secured portion of its claim from its collateral
               rather than from the bankruptcy estate.

               Recommended Allowance:         $160,495.56 as an unsecured nonpriority claim.




AFDOCS/23983428.1
04137500001
  Case 20-10763       Doc 78     Filed 04/12/21 Entered 04/12/21 13:00:45            Desc Main
                                   Document     Page 2 of 2



         WHEREFORE, the Trustee respectfully requests, pursuant to 11 U.S.C. § 502, that this
Court enter an Order allowing the claim of Byline Bank, denominated as Claim No. 11 on the
Court’s claims register, as an unsecured nonpriority claim only, and granting such other relief as
is just and proper.


                                                      Respectfully submitted,

                                                      JOHN O. DESMOND,
                                                        CHAPTER 7 TRUSTEE,

                                                      By his attorneys,



                                                       /s/ Adam J. Ruttenberg
                                                      Adam J. Ruttenberg, BBO 553158
                                                      ARENT FOX LLP
                                                      Prudential Tower
                                                      800 Boylston Street
                                                      Boston, MA 02199
                                                      (617) 973-6100
                                                      adam.ruttenberg@arentfox.com

Dated: April 12, 2021




                                                -2-
AFDOCS/23983428.1
04137500001
